                          UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF IOWA – CEDAR RAPIDS DIVISION


 KEVIN WYMORE,                                          NO. 1:22-CV-66

                                PLAINTIFF,

 v.                                                     BRIEF IN SUPPORT OF DEFENDANTS’
                                                        RESISTANCE TO
 CITY OF CEDAR RAPIDS, IOWA and                         PLAINTIFF’S MOTION FOR
 TIFFANY O’DONNELL, Mayor of the City                   PRELIMINARY INJUNCTION
 of Cedar Rapids, Iowa in her individual and
 official capacities.

                                DEFENDANTS.



             Defendants City of Cedar Rapids, Iowa, and Tiffany O’Donnell (collectively

“Defendants”) submit this Brief in Support of their Resistance to Plaintiff’s Motion for

Preliminary Injunction.

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                           I.      INTRODUCTION & RELEVANT FACTS

             On February 9, 2021, the City of Cedar Rapids (the “City”) adopted Chapter 74 of the

Cedar Rapids Municipal Code (“Chapter 74”) establishing an independent Citizen Review Board

(“CRB”) for community law enforcement. See Exhibit A, which is attached hereto and

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incorporated herein by this reference. Chapter 74 became effective after its passage and

publication as provided by law. See Exhibit A attached hereto. Pursuant to Cedar Rapids

Municipal Code section 74.02(a)(3), the CRB consists of nine voting members who serve for

staggered three-year terms without compensation. See Exhibit A attached hereto.

       Plaintiff’s Motion for Preliminary Injunction (the “Motion”) seeks a preliminary

injunction barring Defendants from enforcing a portion of Chapter 74, specifically Cedar Rapids

Municipal Code section 74.02(A)(1)(a) (“Section 74.02(A)(1)(a)”), during the pendency of this

case. Section 74.02(A)(1)(a) provides that voting members of the CRB will be selected in

conformance with the requirement that “[t]he overall membership of the CRB will include a

minimum of five (5) voting members who identify as people of color.” See Exhibit A attached

hereto (emphasis added). The CRB currently has no vacancies and the earliest any of the current

member’s terms expire is June 30, 2023. See Declaration of Alissa Van Sloten, which is

attached hereto as Exhibit B and incorporated herein by this reference. The City is currently in

the process of amending Section 74.02(A)(1)(a) and anticipates that amendment will be complete

prior to the end of any of the current CRB member’s terms.

                                      II.     ARGUMENT

       A.      Standards and Burden of Proof

       “Preliminary injunctive relief is an extraordinary remedy, and the party seeking such relief

bears the burden of [proof].” Little Rock Fam. Plan. Servs., 397 F. Supp. 3d 1213, 1260 (E.D.

Ark. 2019). The Eighth Circuit laid out the factors to be considered in determining whether a

preliminary injunction should issue in the Dataphase case. Dataphase Sys., Inc. v. C L Sys., Inc.,

640 F.2d 109, 113 (8th Cir. 1981). The Dataphase factors are:

               (1) the threat of irreparable harm to the movant; (2) the state of the
               balance between this harm and the injury that granting the injunction

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                 will inflict on other parties litigant; (3) the probability that movant
                 will succeed on the merits; and (4) the public interest.

Id. However, as one court has noted, in 2008:

                 The Eighth Circuit revised the Dataphase test when applied to
                 challenges to laws passed through the democratic process. Those
                 laws are entitled to a “higher degree of deference.” Planned
                 Parenthood Minn., N.D., S.D. v. Rounds, 530 F.3d 724, 732 (8th Cir.
                 2008). In such cases, it is never sufficient for the moving party to
                 establish that there is a “fair chance” of success. Instead, the
                 appropriate standard, and threshold showing that must be made by
                 the movant, is “likely to prevail on the merits.” Id. Only if the
                 movant has demonstrated that it is likely to prevail on the merits
                 should the Court consider the remaining factors. Id.

Little Rock Fam. Plan. Servs., 397 F. Supp. 3d at 1260. This case involves a challenge to a

municipal law that was passed through the democratic process and, therefore, the more stringent

“likely to prevail on the merits” test applies to the Motion. Plaintiff appears to concede this fact.

See Plaintiff’s Brief in Support of the Motion, p. 8 (arguing that Plaintiff is “likely to succeed on

the merits of his claim”).

        B.       Plaintiff Cannot Establish Likelihood of Success on the Merits

        Plaintiff’s contention that he is likely to succeed on the merits of his claim is premised

upon his assertion that Section 74.02(A)(1)(a) contains a classification based upon race. This

assertion is not accurate. Section 74.02(A)(1)(a) provides that the CRB will include five

members who identify as people of color – it contains no requirement that any of the CRB

members actually be people of color. 1 A person can identify as a person of color without

actually being a person of color and vice versa. To the extent Section 74.02(A)(1)(a) creates a



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 This distinguishes Section 74.02(A)(1)(a) from the City of Madison, Wisconsin ordinance Plaintiff appears to
believe is relevant and references in both his Complaint and his Brief in Support of the Motion. Upon information
and belief, the Madison, Wisconsin ordinance required a particular number of its oversight board members to be
African American, Asian, Latinx, Native American and Black. Regardless, the Madison, Wisconsin ordinance, and
actions taken by the City of Madison in relation to that ordinance, are not relevant to this matter.

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classification, it is a classification based upon identity, not race. Identity is not a suspect or even

quasi-suspect class 2 and Plaintiff has not alleged any sort of fundamental right is involved in this

matter (nor could he, as there is no fundamental right to serve on a municipal board). Therefore,

the standard of review for Plaintiff’s equal protection challenge to Section 74.02(A)(1)(a) is

rational basis review and Plaintiff cannot succeed on the merits of his claim under that standard.

See Hughes v. City of Cedar Rapids, Iowa, 840 F.3d 987, 996 (8th Cir. 2016)(“When no

fundamental right or suspect class is at issue, a challenged law must pass the rational basis

test.”).

           The Eighth Circuit has summarized rational basis review as follows:

                    In rational basis review, “legislative choice is not subject to
                    courtroom fact-finding and may be based on rational speculation
                    unsupported by evidence or empirical data.” FCC v. Beach
                    Commc'ns, Inc., 508 U.S. 307, 313, 113 S.Ct. 2096, 124 L.Ed.2d
                    211 (1993)“It is enough that there is an evil at hand for correction,
                    and that it might be thought that the particular legislative measure
                    was a rational way to correct it.” Williamson v. Lee Optical, 348
                    U.S. 483, 487–88, 75 S.Ct. 461, 99 L.Ed. 563, (1955).

Hughes, 840 F.3d at 996. A law examined under rational basis review “must be upheld against

equal protection challenge if there is any reasonably conceivable set of facts that could provide a

rational basis for the classification.” FCC v. Beach Commc’ns, Inc., 508 U.S. at 313.

           Cedar Rapids Municipal Code section 74.01(A) (“Section 74.01(A)”) lays out eight

different legitimate government interests the City sought to further with passage of Chapter 74,

and the City acted rationally in concluding that Section 74.02(A)(1)(a) would further many of

those interests. For example, subsection 6 of Section 74.01(A) provides that one of the purposes

of the CRB is “to assist in identifying and analyzing trends in policing whose origins may be

rooted in bias or other systematic phenomena, and upon discovery of these trends, to assist the


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    Even if identity were a quasi-suspect class, Section 74.02(A)(1)(a) would survive intermediate scrutiny.

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City and the Cedar Rapids Police Department…in developing solutions to ensure the fair and

equitable treatment of citizens[.]” Individuals who identify as people of color may be better

suited to identify trends rooted in bias than individuals who do not identify as people of color

and, therefore, Section 74.02(A)(1)(a)’s requirement that the CRB contain some members who

identify as people of color is rationally related to this legitimate government interest.

       C.      Plaintiff Cannot Establish Irreparable Harm

       Plaintiff has not alleged any facts that establish he will be irreparably harmed if the Motion

is not granted. Even if the Court were to find Plaintiff established the other three Dataphase

factors, the absence of irreparable harm defeats the Motion. See Dataphase, 640 F.2d at 115, n.9

(stating “[T]he absence of a finding of irreparable injury is alone sufficient ground for vacating the

preliminary injunction.”).

       The purpose of a preliminary injunction is to preserve the status quo until the trial on the

merits. Little Rock Fam. Plan. Servs., 397 F. Supp. 3d at 1260 (“The focus is on ‘whether the

balance of the equities so favors the movant that justice requires the court to intervene to preserve

the status quo until the merits are determined.’” (quoting Watkins Inc. v. Lewis, 346 F.3d 841, 844

(8th Cir. 2003)). Given that the CRB currently has no vacancies and the earliest any of the current

member’s terms expire is June 30, 2023, a preliminary injunction is not necessary to preserve the

status quo at this time. Cf. Exhibit B attached hereto. Although it is possible a CRB member will

leave the CRB prior to the end of their term, it would be pure speculation to say that will happen,

or when that will happen, at this time. Moreover, the City is currently in the process of amending

Section 74.02(A)(1)(a) and anticipates that amendment will be complete prior to the expiration of

any of the current CRB member’s terms. There is simply no need for the preliminary injunction

Plaintiff requests because no new appointments to the CRB are set to happen until June 30, 2023,


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and the particular Code provision of which the Motion seeks to bar enforcement will no longer be

in existence at that time.

                                     III.   CONCLUSION

        For all of the foregoing reasons, Defendants respectfully request the Court deny

Plaintiff’s Motion for Preliminary Injunction and grant such other relief as the Court deems

appropriate.




                                             /s/Patricia G. Kropf _________________
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                                             ATTORNEY FOR DEFENDANTS




                                                                          CERTIFICATE OF SERVICE
Copies to:                                       The undersigned certifies that the foregoing instrument was served upon all
                                                 parties to the above cause to each of the attorneys of record herein at their
                                                 respective addresses disclosed on the pleadings on September 23, 2022.
Alan R. Ostergren
President and Chief Counsel                      By:        ___U.S. Mail           __FAX
                                                            ___Hand Delivered      __Overnight Courier
THE KIRKWOOD INSTITUTE, INC.                                ___Certified Mail      _X_Other (EDMS)
500 Locust Street, Suite 199                                ___ CM/ECF             __Email
Des Moines, Iowa 50309                           Signature /s/ Wendy E. Howard




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                                                                                              CD
                                                                                     CD-0067-2020



                                    ORDINANCE NO. 003-21

             AN ORDINANCE AMENDING THE CEDAR RAPIDS MUNICIPAL CODE
                   BY ADDING A NEW CHAPTER 74 THERETO ENTITLED
             “CITIZEN REVIEW BOARD FOR COMMUNITY LAW ENFORCEMENT”

        BE IT ORDAINED BY THE CITY COUNCIL OF THE CITY OF CEDAR RAPIDS, IOWA,
as follows:

        Section 1. The Cedar Rapids Municipal Code is amended by adding a new Chapter 74
as follows:

                                         “CHAPTER 74

             CITIZEN REVIEW BOARD FOR COMMUNITY LAW ENFORCEMENT

74.01 DECLARATION OF PURPOSE AND INTENT.

(A) The City of Cedar Rapids (hereinafter the “City”) establishes the Cedar Rapids Citizen
Review Board (hereinafter the “CRB”) that will be sufficiently independent for the following
purposes:

       (1)     To ensure fair and professional law enforcement that is constitutional, effective,
               and responsive to the standards, values, and needs of those to be served;

       (2)     To ensure investigations into claims of inappropriate conduct by sworn police
               officers are conducted in a manner that is fair, thorough, and accurate;

       (3)     To provide review of police investigations into citizen complaints;

       (4)     To ensure accountability with respect to complaints of officer misconduct;

       (5)     To ensure public safety accountability, bolster confidence in police, increase and
               improve public cooperation, and make our community safer for everyone;

       (6)     To assist in identifying and analyzing trends in policing whose origins may be
               rooted in bias or other systematic phenomena, and upon discovery of these
               trends, to assist the City and Cedar Rapids Police Department (hereinafter
               referred to as the “CRPD”) in developing solutions to ensure the fair and
               equitable treatment of citizens;

       (7)     To increase citizens’ understanding of law enforcement policies, procedures, and
               operations through additional transparency created through the complaint and
               investigations review process; and

       (8)     To create an additional conduit for communication between the CRPD and the
               Cedar Rapids community through outreach to community and law enforcement.

(B) In enacting this ordinance the Cedar Rapids City Council (hereinafter the “City Council”)
intends that:

       (1)     Internal accountability within the CRPD is a valid public purpose, and the CRPD
               should perform its own investigations into claims of inappropriate police conduct.
               If a complaint is asserted against the Cedar Rapids Chief of Police (hereinafter
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              the “Chief” or the “Police Chief”), the City Manager will investigate the claim and
              report to the CRB as the Chief would pursuant to this chapter, and to the City
              Council. An allegation of misconduct lodged against a sworn police officer
              (hereinafter "police officer" or "officer") employed by the CRPD, where the
              subject action(s) and/or behavior(s) of the complaint occurred while the officer
              was acting in the capacity of a sworn police officer and submitted as a written
              complaint signed by a complainant or a written statement by an officer receiving
              an oral complaint stating the complainant’s allegation may hereinafter be referred
              to as a “complaint.” Actions or behaviors not in conformance with current CRPD
              policies and procedures may hereinafter be referred to as “misconduct;”

       (2)    Findings of the CRB are intended to be used only as provided for in this chapter.

       (3)    The CRB may only review complaints about the conduct of police officers. The
              CRB is not intended to be a court of law, a tort claim process or other litigation
              process. No action of the CRB may be deemed to diminish or limit the right of
              any person to file a claim or a lawsuit against the city;

       (4)    The CRB shall not interfere with or diminish the legal rights of sworn police
              officers, including those rights protected under the civil service laws, or any other
              state or federal law. Similarly, the CRB will respect the rights of privacy and
              freedom from defamation shared by complainants and witnesses, as well as
              those same rights enjoyed by police officers under the law; and

       (5)    Complaints will be investigated in a fair, thorough, and accurate manner.
              Investigations will follow procedures outlined in the CRPD’s Department
              Directives, as well as applicable state and federal law.



74.02 CEDAR RAPIDS CITIZEN REVIEW BOARD.

(A)     The Cedar Rapids Citizen Review Board is hereby created. The CRB will consist of nine
(9) voting members appointed by the Mayor with input from and the approval of the City Council.
Members of the CRB will serve without compensation, and be chosen to broadly represent the
diversity of the City by way of, including but not limited to, cultural, gender, and geographic
diversity.

       (1)    Voting members will be selected in conformance with the following:

              a.     The overall membership of the CRB will include a minimum of five (5)
                     voting members who identify as people of color.

              b.     The Mayor shall appoint members of the CRB, with advice and consent
                     from the City Council, according to the following, some combination of
                     which will also conform to the composition standard in section
                     74.02(A)(1)(a):

                     i.      Three (3) voting members will be selected from applications
                             submitted by the general public;

                     ii.     One (1) voting member will be an attorney licensed to practice law
                             in the state of Iowa, although this member may not serve as legal
                             counsel for the CRB;



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               iii.   Three (3) voting members will be selected from applications
                      submitted by individuals who are employed by, or active
                      volunteers in a group with a designation pursuant to Iowa Code
                      Section 501(c)(3) (2020), as amended from time to time, and that
                      is focused on advocacy of, and racial justice for, underrepresented
                      citizens of Cedar Rapids, including, but not limited to: NAACP
                      (National Association for the Advancement of Colored People),
                      LULAC (League of United Latin American Citizens), Iowa Asian
                      Alliance, ASJ (Advocates for Social Justice), United We March
                      Forward, with a limit of one (1) member per organization; and

               iv.    Two (2) voting members will be appointed by the Mayor from
                      nominees who are employed by, or are active volunteers in, one
                      of the following service providers in Cedar Rapids: United Way, a
                      United Way funded service provider, NAMI (National Alliance on
                      Mental Illness), or another service provider or company that works
                      with underrepresented segments of the population in the areas of
                      mental health, physical health, homelessness, food insecurity, or
                      similar social issues.

  (2)   In addition to the composition standards set forth above, the following are the
        minimum qualifications for voting members of the CRB:

        a.     Are not currently employed by the City of Cedar Rapids;

        b.     Are not currently, and have not been, employed as a sworn law
               enforcement officer or employed as an unsworn employee of law
               enforcement for a period of four (4) years prior to appointment;

        c.     Are not currently, and have not been, an elected official for a period of
               four (4) years prior to appointment;

        d.     Do not have a personal history of making multiple unfounded formal
               complaints against the CRPD;

        e.     Have demonstrated a strong commitment to transparency and impartial
               decision-making;

        f.     Have demonstrated the ability to maintain confidentiality of sensitive
               information; and

        g.     Must be Cedar Rapids residents at the time of appointment and during
               the term of appointment.

  (3)   The term of office of each member of the CRB will be 3 years. A member chosen
        to fill a vacancy otherwise than by expiration of a term will be appointed for the
        unexpired term of the member whom the new member is to succeed. A member
        is eligible for reappointment, but may not serve more than 2 consecutive 3-year
        terms. Members who miss 3 consecutive meetings or 4 meetings within 12
        months will be considered to have resigned and a vacancy created. The terms of
        the first set of members will be staggered as follows:

        a.     Three (3) members serving one (1) year terms;

        b.     Three (3) members serving two (2) year terms; and

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               c.      Three (3) members serving three (3) year terms

        (4)    If a member is unable to complete that member’s term for any reason, or is
               unable to complete the required training outlined in subsection (B) below, the
               Mayor shall appoint, with input from and the approval of the City Council, a new
               member to complete the term. Such new member may then be eligible to be
               reappointed for no more than one (1) additional full consecutive term, if the
               member has served eighteen (18) months or more of the original term, and no
               more than two (2) additional full consecutive terms, if the member has served
               less than eighteen (18) months of the original term.

(B)     As a requirement for service, before they may be eligible for appointment, voting
        members of the CRB must agree to complete the following training:

        (1)    Complete a training course that is a minimum of, but not limited to, thirty (30)
               hours with a curriculum as determined by the Chief to be completed within six (6)
               months of appointment;

        (2)    In addition, each voting member must receive an additional ten (10) hours of
               training per year with a curriculum as determined by the Chief; and

        (3)    Each voting member must accompany an on-duty police officer employed by the
               CRPD for a minimum of sixteen (16) hours per year and for a minimum of four (4)
               hours per occasion.

(C)      Two (2) police officers will be appointed to serve by the Chief as liaisons to the CRB,
ensuring at least one (1) of the officers will be available to attend all meetings with only one (1)
officer in attendance in closed sessions, at the discretion of the CRB to serve as a resource.
Police officer liaisons will serve as a technical resource and subject matter experts at the
discretion of the CRB and serve as a communication conduit between the CRPD and the CRB.
The police officers appointed by the Chief shall serve a two-year term ending on June 30 in
even-numbered years, and will:

        (1)    Have been a CRPD officer for more than seven (7) years;

        (2)    Have participated in ethics training;

        (3)    Have strong community relations experience;

        (4)    Hold a rank of Sergeant or below; and

        (5)    May not serve as a CRB liaison more than two (2) consecutive terms.

(D)     The City Council will provide the necessary resources to allow the CRB to perform the
duties and functions assigned to the CRB by this chapter.

(E)     The CRB will annually elect a Chairperson and a Vice-Chairperson from among its
members. The Chairperson may serve for no more than 2 consecutive 12-month periods. The
Vice-Chairperson may serve for no more than 2 consecutive 12-month periods. The election of
officers will be held at the first regularly scheduled meeting after the first of the year.

(F)      The CRB may adopt, amend, or rescind such rules as may be necessary for the conduct
of its business.




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74.03 GENERAL POWERS AND DUTIES OF THE CITIZEN REVIEW BOARD.

The CRB will have the following powers and duties to:

(A)      Require, receive and review quarterly reports from the Chief, including data such as
traffic stops and arrests with breakdowns of the attending demographic information by race and
ethnicity;

(B)   Review police data to identify areas for improvement and create a baseline for each area
and keep track of progress;

(C)    Appoint a member of the CRB to serve on any Police Chief Candidate selection
committee, and appoint additional members of the CRB, as needed, to provide 20%
representation on the committee;

(D)     Oversee a monitoring system for tracking of complaints lodged against sworn police
officers with either the CRB, the CRPD, or the City Clerk to give the City Council sufficient
information to assess the overall performance of the CRPD in these matters and to assess the
performance of the CRB in the fulfillment of its duties;

(E)     Develop, implement, and from time to time amend as necessary, a program of
community outreach aimed at soliciting public input from the broadest segment of the
community in terms of geography, culture, ethnicity, and socio-economics. The CRB will report
its community outreach efforts to the City Council on an annual basis. As a part of this program,
the CRB must hold at least one community forum each year for the purpose of hearing views on
the policies, practices, and procedures of the CRPD, review police practices, procedures, and
written policies as those practices and procedures relate to the CRPD’s performance as a
whole, and report its recommendations, if any, to the City Council, City Manager and Police
Chief; and

(F)     Engage in a long-term planning process through which it identifies major problems or
trends, evaluates the efficacy of existing law enforcement practices in dealing with the same,
and establishes a program of resulting policy suggestions and studies each year. The CRB will
review and analyze policy, analysis studies, and trend data collected or developed by the
CRPD, and by majority vote, recommend policies relating to training programs and procedures
or other matters related to the CRPD. The CRB’s policy recommendations will be submitted to
the Chief and to the City Council. The Chief will respond in writing within 45 days to any such
policy recommendations by the CRB, and indicate whether they will be followed through
Department Directives or should be adopted as policy by the City Council or explain any
reasons why such policy recommendations will not be followed or should not be adopted.



74.04 CITIZEN COMPLAINTS OF ALLEGED POLICE MISCONDUCT.

(A)     Making and Filing Complaints.

        (1)    Any person with personal knowledge of alleged police misconduct may file a
               complaint. In order to have "personal knowledge", the complainant must have
               been directly involved in the incident or witnessed the incident. If a juvenile wants
               to make a complaint against an officer, the complaint will be taken in the same
               manner as if an adult filed it. Once a complaint is taken from a juvenile, an
               attempt must be made to notify the juvenile’s parent or guardian concerning the
               complaint and the circumstances involved. This notification will be documented
               in the final report provided to the Chief by the Professional Standards unit of the

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               CRPD (hereinafter referred to as “Professional Standards”). The person or
               official filing the complaint may hereafter be referred to as the "complainant."

        (2)    Complaints may be filed in person or online with the CRB, the CRPD, or the City
               Clerk’s office. The date, time, and name of the person receiving the complaint
               shall be recorded on the complaint form and submitted in a timely manner to
               Professional Standards. Each office shall record the receipt of all Complaints
               and provide notice of receipt of all complaints to the others when received; and

        (3)    Complaint forms will be available to the public online and in easily accessible
               locations. Personnel in the City Clerk’s Office, sworn police officers, and non-
               sworn police staff will be available to receive complaints. All complaints must be
               filed within ninety (90) days of the alleged misconduct. Any complaints that do
               not involve the conduct of a sworn police officer or are not filed within ninety (90)
               days of the alleged misconduct may be investigated by the Professional
               Standards unit and may be subject to summary dismissal by the CRB. If the
               complaint is against the Chief, the City Manager will perform the Chief’s duties
               set forth herein below.

(B)     Police Department Investigation of Complaints.

        (1)    The Chief will direct Professional Standards to conduct an investigation of each
               complaint received (“PSI”). The PSI will be conducted pursuant to the
               Department Directives established by the Chief, as well as the conditions herein.
               The Department Directives will be a public record and readily available to the
               community. All investigations will be performed in a manner designed to produce
               a minimum of inconvenience and embarrassment to all parties, including the
               complainant, the police officer, and other witnesses.

        (2)    All PSI will include an interview of the complainant. The complainant may have a
               neutral City employee or some other person chosen by the complainant present
               during the interview. Any police officer who is implicated by a complaint shall
               have the right to have legal counsel or a union representative present during the
               officer’s interview.

        (3)    Professional Standards will prepare and forward a report of its investigation to
               the Chief within sixty (60) days after the complaint is filed. The PSI report will
               include detailed findings of fact as to the allegations in the complaint. The report
               will also set forth a written conclusion that explains why and the extent to which
               the complaint is either “exonerated” (meaning the officer acted in conformance
               with policies and procedures); “unfounded” (meaning the incident in question is
               found to have not occurred as stated by the complainant); “unsubstantiated”
               (meaning there is insufficient evidence to prove or disprove the complaint);
               "sustained" (meaning the incident in question is found to have occurred as
               alleged by the complainant); “commended” (meaning the officer acted properly
               and should be commended in the handling of the situation); or "policy failure”
               (meaning the officer acted in conformance with established policy, but the policy
               needs to be amended).

        (4)    The Chief will conduct a review of the PSI report and may do any or all of the
               following: conduct interviews or request Professional Standards to conduct
               additional investigation; request additional information, or that additional
               questions be asked; interview or direct that other persons or witnesses be
               interviewed; request that other documents be reviewed or retrieved; and take any
               other investigative steps the Police Chief deems appropriate.

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        (5)    The Chief will forward a Police Chief's report to the CRB. The Police Chief’s
               report will include the following:

               a.     Detailed written findings of fact and evidence concerning the allegations
                      in the complaint (names of witnesses, victims, and Police Officers will not
                      be included and shall be replaced by unique identifiers for each of these
                      individuals). Faces and names will be edited out of any media provided
                      to the CRB;

               b.     A written conclusion that explains why and the extent to which the
                      complaint    is    either “sustained”,      “unfounded”, “exonerated”,
                      “unsubstantiated”, “commended”, “policy failure”;

               c.     A written summary of remedial actions, if any, including amending the
                      current policies or adopting new policies;

               d.     A description of any disciplinary action recommended by the current
                      disciplinary matrix contained within the CRPD Disciplinary System Policy
                      issued by the Chief (hereinafter referred to as the “Disciplinary Matrix”).
                      Nothing in this chapter will prevent the Police Chief from taking
                      disciplinary action prior to the CRB’s review of the complaint; and

               e.     The Chief’s certification that the PSI was conducted in conformance with
                      the CRPD’s Department Directives.

        (6)    A copy of the Police Chief's report to the CRB shall be given to the police officer
               and the City Manager;

        (7)    The Chief’s report must be delivered to the CRB, along with findings of fact and
               all available evidence and audio and visual recordings, within thirty (30) calendar
               days after the Professional Standards report is issued to the Chief, unless the
               Chief demonstrates good cause for additional time; and

(C)     CRB Review of the Police Chief’s Report.

        (1)    The CRB will review all Police Chief's reports, or City Manager's Reports
               regarding complaints made against the Police Chief. The CRB may require the
               Chief to meet with the CRB to review and discuss the Report. To the extent
               possible, such meetings may be in closed session as allowed by Iowa Code
               Chapter 21. All CRB deliberation of the Chief’s report will be discussed in a
               closed session with all discussions, correspondence, and minutes/records of the
               closed session deemed confidential documents and not released to the public.
               The CRB may request subject matter experts participate in the conversation
               during open and closed sessions, and request additional information from the
               Chief or other entities to supplement its review.

        (2)    The CRB will decide, on a majority vote, the level of review to give each Police
               Chief's report, and the CRB may select any or all of the following:

               a.     Agree with no additional information or investigation requested;

               b.     Request additional investigation by the Chief or City Manager, request
                      additional information; and

               c.     Disagree and provide recommendations to the Chief.

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  (3)   The CRB will apply a "reasonable basis" standard of review when reviewing the
        Police Chief's report. When reviewing the report’s evidence, the CRB will rely on
        evidence reasonably prudent persons are accustomed to rely upon in the
        conduct of their serious affairs.

  (4)   The CRB may recommend that the Police Chief reverse or modify the Chief’s
        findings only if the CRB determines that:

        a.     The findings are not supported by substantial evidence;

        b.     The findings are unreasonable, arbitrary or capricious; or

        c.     The findings are contrary to a CRPD Department Directive, or federal,
               state, or local law.

        The Police Chief will respond in writing to the CRB’s recommendations within
        thirty (30) days.

  (5)   If the CRB disagrees with the decision of the Police Chief the CRB may issue a
        written response to the Chief indicating on which of the three (3) standards in
        Section 74.04(C)(4) upon which the CRB’s disagreement is based. Thereafter,
        the Chief will meet with the CRB to discuss the disagreement. This meeting may
        be closed as allowed by Iowa Code Chapter 21. Such meeting will take place
        prior to the issuance of the CRB’s public report to the City Council. If after the
        CRB has met with the Chief, as outlined in this subsection, and the CRB still
        disagrees with the Chief’s report, the CRB may on a majority vote, remand the
        case to the State of Iowa Office of Ombudsman, the Iowa Civil Rights
        Commission, or a non-governmental independent arbiter approved by both the
        CRB and the City Council and request an independent investigation.

  (6)   If the CRB finds that the disciplinary action indicated by the Police Chief, for
        investigations that result in sustained civilian police complaints, is out of
        conformance with the Discipline Matrix, the CRB may recommend other
        discipline that conforms with the Discipline Matrix.            Imposition of the
        recommended discipline is at the discretion of the Chief, but if the Chief does not
        follow the disciplinary recommendation of the CRB, the Chief must respond in
        writing, within 30 days, with the Chief’s reasons as to why the recommended
        discipline was not imposed.

  (7)   At the conclusion of the CRB’s review, the CRB will issue a public report to the
        City Council concerning the investigation of the complaint. Such public report will
        include detailed findings of fact concerning the complaint, together with a clearly
        articulated conclusion that explains the disposition of the complaint. The public
        report will not include the names of the complainant(s), witness(es) or the police
        officer(s). In addition, the CRB's public report will not include any discipline or
        personnel matters, although the CRB may comment generally as to whether the
        CRB believes discipline is appropriate without commenting on the extent or form
        of the discipline. A copy of this public report to the City Council shall be given to
        the complainant(s), the police officer(s), the Police Chief, and the City Manager.

  (8)   The CRB’s report to the City Council must be completed within ninety (90)
        calendar days of receipt of the Chief's report unless the CRB demonstrates good
        cause for additional time.




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          (9)    Review of the Chief’s report for each case by the CRB may occur after all
                 pending investigations, legal proceedings, and any applicable appeals,
                 grievances, or other review of the incident have been completed.



74.05 DUTIES OF THE CITY MANAGER

If a complaint is filed concerning the Chief, the City Manager’s report will include the same
findings of fact and conclusions as required for the Chief’s report.



74.06 POLICE OFFICER’S AND COMPLAINANT’S RIGHTS PRESERVED

All rights enjoyed by sworn police officers employed by the City are preserved in this chapter,
and nothing herein is intended to waive, diminish or interfere with any such rights protected by
Iowa's civil service laws or any other applicable state or federal laws.”



        Section 2.     It is the intention of the Council that each section, paragraph, sentence,
clause, and provision of the Ordinance is separable and, if any provision is held unconstitutional
or invalid for any reason, such decision shall not affect the remainder of this Ordinance nor any
part thereof than that affected by such decision.

          Section 3.    All ordinances or parts of ordinances in conflict herewith are repealed.

      Section 4.      This Ordinance shall be in full force and effect from and after its passage
and publication as provided by law.

          Introduced this 26th day of January, 2021.

          Passed this 9th day of February, 2021.

Voting: Council member Olson (Scott) moved the adoption of the ordinance; seconded by
Council member Hoeger. Adopted, Ayes, Council members Hoeger, Loeffler, Olson (Scott),
Olson (Tyler), Overland, Poe, Todd, Vanorny and Mayor Hart.




Attest:




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